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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  In Re:                                             CASE NO. 22-51065-BEM

  ROBERT E. SPRINGER, III, M.D., P.C.,               CHAPTER 11

           Debtor.


                NOTICE OF PLEADING, DEADLINE TO OBJECT
              AND FOR HEARING ON APPLICATION FOR FINAL
          DECREE CLOSING THE CHAPTER 11 CASE PURSUANT TO
   SECTION 350(A) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

         Robert E. Springer, III, M.D., P.C., (the “Debtor”) submits this Application for Final
 Decree Closing the Chapter 11 Case Pursuant to Section 350(A) of the Bankruptcy Code and
 Bankruptcy Rule 3022 on March 7, 2023. Pursuant to Second Amended and Restated General
 Order No. 24-2018, the Court may consider this matter without further notice or a hearing if no
 party in interest files a response or objection within twenty-one days from the date of service of
 this notice.

         If you object to the relief requested in this pleading, you must timely file your
 objection with the Bankruptcy Clerk at Richard B. Russell Federal Building and United States
 Courthouse, 75 Ted Turner Drive, SW, Room 1340, Atlanta, GA 30303, and serve a copy on the
 movant’s attorney, Keck Legal, LLC, Attn: Benjamin R. Keck, at 2566 Shallowford Road, Suite
 104-252, Atlanta, Georgia 30345, and any other appropriate persons by the objection deadline. The
 response or objection must explain your position and be actually received by the Bankruptcy Clerk
 within the required time.

        A hearing on the pleading has been scheduled for April 4, 2023 at 11:00 A.M., in
 Courtroom 1402, Richard B. Russell Federal Building and United States Courthouse, 75 Ted
 Turner Drive, SW, Atlanta, GA 30303. The Court will hold an initial telephonic hearing for
 announcements on the Motion at the following number: (toll-free number: 833-568-8864; meeting
 id 160 862 0914, at 11:00 A.M., in Courtroom 1402, Richard B. Russell Federal Building and
 United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, GA 30303.
         If an objection or response is timely filed and served, the hearing will proceed as scheduled.
 If you do not file a response or objection within the time permitted, the Court may grant the
 relief requested without further notice or hearing provided that an order approving the relief
 requested is entered at least one business day prior to the scheduled hearing. If no objection is
 timely filed, but no order is entered granting the relief requested at least one business day prior to
 the hearing, the hearing will be held at the time and place as scheduled.
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        Your rights may be affected. You should read these papers carefully and discuss them
 with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,
 you may wish to consult one.


 Dated: March 7, 2023                      KECK LEGAL, LLC

                                           /s/ Benjamin R. Keck
                                           Benjamin R. Keck, Ga. Bar No. 943504
                                           2566 Shallowford Road, Suite 104-252
                                           Atlanta, Georgia 30345
                                           (678) 641-1720 Telephone
                                           bkeck@kecklegal.com
                                           Attorney for the Debtor




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

  In Re:                                           CASE NO. 22-51065-BEM

  ROBERT E. SPRINGER, III, M.D., P.C.,             CHAPTER 11

           Debtor.


                       APPLICATION FOR FINAL DECREE
                CLOSING THE CHAPTER 11 CASE PURSUANT TO
    SECTION 350(A) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

        Robert E. Springer, III, M.D., P.C., (the “Debtor”) submits this Application for Final

 Decree Closing the Chapter 11 Case Pursuant to Section 350(a) of the Bankruptcy Code and

 Bankruptcy Rule 3022 (the “Application”) for entry of a final decree, substantially in the form

 attached hereto as Exhibit A, which would close this chapter 11 case.

                                    JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 & 1334.

 This is a core proceeding pursuant to 28 U.S.C. §§ 157. Venue is proper pursuant to 28 U.S.C.

 §§ 1408, 1409.

                                          BACKGROUND

        2.      On February 8, 2022 (the “Petition Date”) the Debtor filed a voluntary petition

 with the Court for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–

 1532, (the “Bankruptcy Code”).

        3.      On May 9, 2022, the Debtor filed its Plan of Reorganization [Doc. 59] (the “Plan”)

 under Subchapter V of Chapter 11 of the Bankruptcy Code.
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        4.      On May 17, 2022, the Court entered an Order and Notice of Assignment of Hearing

 on Confirmation of Plan [Doc. 62] to schedule the confirmation hearing for June 23, 2022. The

 Court subsequently rescheduled the confirmation hearing to be held on July 19, 2022 [Doc. 72]

 (the “Confirmation Hearing”). The Court held the Confirmation Hearing via live

 videoconference on July 19, 2022 and continued the Confirmation Hearing to August 16, 2022,

 ultimately concluding the Confirmation Hearing on August 16, 2022.

        5.      The Court entered an order on August 25, 2022 confirming the Plan [Doc. 89] (the

 “Confirmation Order”). Pursuant to the terms of the Plan, the effective date of the Plan occurred

 on September 24, 2022 [See Doc. 94] (the “Effective Date”).

        6.      As of the date hereof, the Reorganized Debtor has substantially consummated the

 Plan, and required Plan distributions have been made in accordance with the terms of the Plan.

                                       REQUEST FOR RELIEF

        7.      The Reorganized Debtor respectfully requests that this Court enter a final decree,

 substantially in the form attached hereto as Exhibit A, closing this chapter 11 case.

                                         BASIS FOR RELIEF

        8.      Bankruptcy Code section 350(a) provides that the Court shall close a case after the

 estate has been fully administered. See 11 U.S.C. § 350(a). In addition, Bankruptcy Rule 3022

 provides that “[a]fter an estate is fully administered in a chapter 11 reorganization case, the court

 . . . shall enter a final decree closing the case.” Fed. R. Bankr. P. 3022. The factors typically

 considered in determining whether an estate has been fully administered are:

        (1) Whether the order confirming the plan has become final;
        (2) Whether deposits required by the plan have been distributed;
        (3) Whether the property proposed by the plan to be transferred has been transferred;
        (4) Whether the debtor or the successor of the debtor under the plan has assumed the
            business or the management of the property dealt with by the plan;

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        (5) Whether payments under the plan have commenced; and
        (6) Whether all motions, contested matters, and adversary proceedings have been finally
            resolved.

 Fed. R. Bankr. P. 3022, Advisory Committee Note.

        9.      Courts generally use the six factors listed in the Advisory Committee Note to

 determine whether a case has been fully administered. See, e.g., In re Aquatic Dev. Grp. Inc., 352

 F.3d 671, 676 (2d Cir. 2003); In re Kliegl Bros. Universal Elec. Stage Lighting Co., Inc., 238

 B.R. 531, 542 (Bankr. E.D.N.Y. 1999). These six factors, however, are merely guidelines that aid

 a court’s determination, and each of the factors need not be present before a court enters a final

 decree. See Kliegl Bros., 238 B.R. at 542; see also Walnut Assocs. v. Saidel, 164 B.R. 487 (E.D.

 Pa. 1994).

        10.     Here, these factors weigh in favor of finding this case to be fully administered. The

 Confirmation Order has become a final order, and the Effective Date has occurred. All transfers

 of property required under the Plan have occurred. The Reorganized Debtor continues to operate

 the Debtor’s business. The Reorganized Debtor has paid all administrative priority claims and has

 made multiple payments to creditors as required under the Plan. There are no pending motions,

 contested matters, or adversary proceedings remaining to be resolved. Accordingly, this case has

 been fully administered.

        11.     The Debtor has resolved all outstanding claims and has otherwise fully

 consummated the Plan. No contested matters remain for this Court to adjudicate.

        12.     Based on the facts and circumstances of this case, the Debtor submits that its estate

 is fully administered, as required by § 350(a) and Bankruptcy Rule 3022. Therefore, the Debtor

 asserts that this chapter 11 case should be closed.




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                                         CONCLUSION

        WHEREFORE, the Debtor respectfully shows that no further administration of the

 above-captioned case is necessary and accordingly requests that the Court (i) enter a Final

 Decree in the above-captioned case and (ii) grant such other relief as is just and proper.

 Dated: March 7, 2023                         KECK LEGAL, LLC

                                              /s/ Benjamin R. Keck
                                              Benjamin R. Keck, Ga. Bar No. 943504
                                              2566 Shallowford Road, Suite 104-252
                                              Atlanta, Georgia 30345
                                              (678) 641-1720 Telephone
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                                              Attorney for the Debtor




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                                               Exhibit A

                                            Proposed Order




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

  In Re:                                              CASE NO. 22-51065-BEM

  ROBERT E. SPRINGER, III, M.D., P.C.,                CHAPTER 11

           Debtor.


                      FINAL DECREE CLOSING THE DEBTOR’S
                 CHAPTER 11 CASE PURSUANT TO SECTION 350(a) OF
                THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

        Upon the application [Doc. 106] (the “Application”)1 of Robert E. Springer, III, M.D.,

 P.C. (the “Debtor” or “Reorganized Debtor”), for entry of a final decree closing this chapter 11

 case pursuant to section 350(a) of the Bankruptcy Code and Bankruptcy Rule 3022, all as more

 fully set forth in the Application; and this Bankruptcy Court having jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157 and 1334; and this Bankruptcy Court having found that this is a core


  1
    All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in
  the Application.

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 proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Bankruptcy Court may enter a final

 order consistent with Article III of the United States Constitution; and this Bankruptcy Court

 having found that venue of this proceeding and the Application in this district is proper pursuant

 to 28 U.S.C. §§ 1408 and 1409; and this Bankruptcy Court having found that the relief requested

 in the Application is in the best interests of the Debtor, its estate and creditors, and other parties in

 interest; and this Bankruptcy Court having found that the Debtor’s notice of the Application and

 opportunity for a hearing on the Application were appropriate and no other notice need be

 provided; and this Bankruptcy Court having reviewed the Application; and this Bankruptcy Court

 having determined that the legal and factual bases set forth in the Application establish just cause

 for the relief granted herein; and upon all of the proceedings had before this Bankruptcy Court;

 and after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED

 THAT:

         1.      The Application is GRANTED.

         2.      Pursuant to section 350(a) of the Bankruptcy Code and Rule 3022 of the Federal

 Rules of Bankruptcy Procedure, the Reorganized Debtor’s chapter 11 case is hereby closed;

 provided, however, that this Court shall retain such jurisdiction over all matters arising out of, or

 related to, this chapter 11 case and the Plan, and the entry of this Final Decree is without prejudice

 to the rights of the Reorganized Debtor or any party in interest to seek to reopen this chapter 11

 case for good cause shown. For the avoidance of doubt, this Order shall not modify the

 Reorganized Debtor’s remaining obligations under the Plan or any order of the Bankruptcy Court.

         3.      The Reorganized Debtor is authorized to take all actions necessary to effectuate the

 relief granted pursuant to this Order in accordance with the Application.

                                          [END OF ORDER]



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 Prepared and Presented by:

 KECK LEGAL, LLC

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 All creditors on mailing matrix




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